       Case 1:01-cv-12257-PBS Document 3972-3 Filed 03/30/07 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS




 IN RE: PHARMACEUTICAL                    )    MDL NO. 1456
 INDUSTRY AVERAGE                         )
 WHOLESALE PRICE LITIGATION               )    CIVIL ACTION: 01-CV-12257-PBS
                                          )
 THIS DOCUMENT RELATES TO                 )    Judge Patti B. Saris
 U.S. ex rel. Ven-A-Care of the           )
 Florida Keys, Inc. v. Abbott             )    Chief Magistrate Judge Marianne B. Bowler
 Laboratories, Inc.,                      )
 No. 06-CV-11337-PBS


     VEN-A-CARE OF THE FLORIDA KEYS, INC.’S JOINDER IN UNITED STATES
             MOTION TO ENLARGE TIME TO RESPOND TO ABBOTT
            LABORATORIES, INC.’S MOTION TO COMPEL PLAINTIFFS
       TO PROVIDE AN ADEQUATE RESPONSE TO INTERROGATORY NO. 7

       Relator, Ven-A-Care of the Florida Keys, Inc. (“Ven-A-Care”) by and through its

undersigned counsel files this its Joinder in the United States Motion to Enlarge Time to

Respond to Abbott Laboratories, Inc.’s Motion to Compel Plaintiffs to Provide an Adequate

Response to Interrogatory No. 7 and further states as follows:

1.     The Motion to Compel at issue was directed at both the United States and the

       Relator with respect to an interrogatory directed at both parties jointly in Abbott

       Laboratories, Inc.’s First Set of Interrogatories Propounded Jointly to the Plaintiffs.

2.     The United States and Ven-A-Care response to Abbott’s Motion to Compel is due

       March 30, 2007.

3.     The United States has requested additional time due to previously scheduled

       matters, including days away from the district on work-related travel, as well as

       other court hearings and filings that were previously scheduled.
      Case 1:01-cv-12257-PBS Document 3972-3 Filed 03/30/07 Page 2 of 3




4.    Christopher Cook, Esq., counsel for defendant Abbott, indicated he did not object

      to the United States’ request for additional time up to April 13, 2007 to respond to

      Abbott’s Motion to Compel. He also indicated he did not object to additional time

      up to April 13, 2007 for the Relator to respond to the same Motion so that both

      Plaintiffs could be on the same briefing schedule.

5.    For the economy and convenience of all the parties and the Court, the Relator

      requests that it also have additional time up to and including April 13, 2007 to

      respond to Abbott’s Motion to Compel.

      For the above reasons, Ven-A-Care joins in the United States request for additional

time and respectfully requests that this motion be granted.


      DATED: March 30, 2007.
                                                For the Relator,
                                                Ven-A-Care of the Florida Keys, Inc.

                                                   /s/ Alison W. Simon
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                                                Alison W. Simon
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                                           2
      Case 1:01-cv-12257-PBS Document 3972-3 Filed 03/30/07 Page 3 of 3




                             CERTIFICATE OF SERVICE

      I hereby certify that I have this day, March 30, 2007, caused an electronic
copy of the above to be served on all counsel of record via electronic mail service by
sending a copy to LexisNexis File & Serve for posting and notification to all parties.




                                            /s/ Alison W. Simon
                                         Alison W. Simon




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